     Case 4:18-cr-00014-BMM Document 48 Filed 06/22/18 Page 1 of 1




            IN THE UNITED STATES DISTRICT COURT FOR
                    THE DISTRICT OF MONTANA
                      GREAT FALLS DIVISION


UNITED STATES OF AMERICA,                 )
                                          )
            Plaintiff,                    ) Case No. CR 18-14-GF-BMM
                                          )
     v.                                   )          ORDER
                                          )
STANLEY PATRICK WEBER,                    )
                                          )
            Defendant.


     The Court has reviewed Defendant Stanley Weber's Unopposed Motion to
Continue Motions Hearing. (Doc. 47.)
     IT IS HEREBY ORDERED that the hearing scheduled for June 26, 2018
is hereby VACATED and RESET for Tuesday, July 10, 2018 at 10:00 a.m.

      Dated this 22nd day of June, 2018




                                                Brian Morris
                                                United States District Court Judge
